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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

 INTERNET MACHINES, LLC                              §
                                                     §
 v.                                                  §          Case No. 6:10-cv-23
                                                     §
 ALIENWARE CORPORATION, ET AL.                       §


                                                 ORDER

            On February 6, 2012, the Court held a pretrial conference in the above styled case and

 issued rulings on several pending matters. The Court issues this order to resolve various

 summary judgment motions, Daubert motions, motions in limine, objections to evidence,

 objections to deposition designations, and other pretrial matters.



      I.       Summary Judgment Motions

            Pursuant to the Court’s oral rulings and for the reasons stated at the hearing, the Court

            DENIES Defendants’ Motion for Summary Judgment of Noninfringement (Doc. No.

 334); and

            DENIES Defendants’ Motion for Summary Judgment of Invalidity (Doc. No. 336).



      II.      Daubert Motions

            Pursuant to the Court’s oral rulings and for the reasons stated at the hearing, the Court

            DENIES Plaintiff’s Daubert Motion to Exclude the Conclusory Obviousness Opinions of

 Defendants’ Expert Dr. Kaliski (Doc. No. 341);

            DENIES Plaintiff’s Daubert Motion to Exclude the Unsupported Noninfringement

 Opinions of Defendants’ Expert Dr. Kaliski (Doc. No. 342);


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               DENIES Defendants’ Motion to Strike Expert Report of Walter Bratic (Doc. No. 332);

               DENIES Defendants’ Motion to Strike Sur-Rebuttal Expert Report of Walter Bratic

 (Doc. No. 333). But the Court will allow Defendants’ five (5) days to redepose Mr. Bratic; and

               GRANTS in part and DENIES in part Defendants’ Motion to Strike Portions of Charles

 Narad’s Expert Report on Noninfringement and Invalidity (Doc. No. 335). As to the issue of

 induced infringement, Mr. Narad cannot testify as to intent or as to the ultimate issue of induced

 infringement, but he can testify as to the remaining elements. Furthermore, Mr. Narad may not

 use PLX’s marketing material to demonstrate commercial success when discussing secondary

 indicia to support his non-obviousness opinion. The Court denies all other remaining grounds for

 the motion.



        III.      Motions in Limine 1

               Pursuant to the Court’s oral rulings and for the reasons stated at the hearing, the Court

 makes the following rulings on the parties’ motions in limine (Doc. Nos. 403, 405):

        1. Defendants’ Motions in Limine

               A. Defendants’ motion that the parties should be precluded from offering testimony,
                  evidence, or argument during voir dire or trial that characterizes the evidentiary
                  burdens of proof in any manner different than the definitions provided by the Court
                  during preliminary jury instructions.

               The Court GRANTS this motion as agreed.

               B. Defendants’ motion that the parties should be precluded from offering testimony,
                  evidence, or argument regarding the issuance of an injunction or attorneys’ fees.

               The Court GRANTS this motion as agreed.

               C. Defendants’ motion that the parties should be precluded from mentioning or referring
                  to discovery disputes between the parties or motions to compel, including the subject


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     All rulings on motions in limine are preliminary and are not final evidentiary rulings.

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            matter of any such disputes or motions, that are or were at any point pending before
            the Court in this matter or any other.

        The Court GRANTS this motion. The parties may not introduce evidence of prior

 discovery disputes. But the subject matter of those disputes may be admissible.

        D. Defendants’ motion that the parties should be precluded from mentioning or referring
           to any pretrial rulings by the Court, with the exception of the Court’s claim
           construction opinion or any other ruling the jury would need to know in order to
           answer any question presented, e.g., a ruling on the date of the claimed invention.

        The Court GRANTS this motion.

        E. Defendants’ motion that Plaintiff should be precluded from offering evidence,
           testimony, or argument regarding any Defendant’s total revenues, size, or financial
           worth.

        The Court GRANTS this motion and makes it applicable to both parties.

        F. Defendants’ motion that Plaintiff should be precluded from offering evidence,
           testimony, or argument of other proceedings and litigation brought by Plaintiff or
           involving any Defendant.

        The Court GRANTS this motion and makes it applicable to both parties.

        G. Defendants’ motion that Plaintiff should be precluded from offering evidence,
           testimony, or argument of willful infringement by any Defendant.

        The Court DENIES this motion.

        H. Defendants’ motion that Plaintiff should be precluded from offering evidence,
           testimony, or argument of any agreement entered into between Internet Machines
           Corporation and Integrated Device Technology, Inc.

        The Court DENIES this motion.

        I. Defendants’ motion that Plaintiff should be precluded from offering evidence,
           testimony, or argument regarding any of the following agreements: (1)
           PLX/Snowbush; (2) PLX/ARM; (3) PLX/Rambus Agreement; (4) Mobility
           Electronic, Inc/Cybex Computer Products Corp; (5) Cybex Computer Products
           Corp./Mobility Electronics, Inc.; and (6) Mobility Electronics, Inc./2C Computing,
           Inc.




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        The Court GRANTS the motion as to the PLX/Snowbush, PLX/ARM, and PLX/Rambus

 agreements and DENIES the motion as to the Mobility Electronic, Inc./Cybex Computer

 Products Corp., Cybex Computer Products Corp./Mobility Electronics, Inc., and Mobility

 Electronics, Inc./2C Computing, Inc. agreements.

        J. Defendants’ motion that Plaintiff should be precluded from mentioning or referring to
           any indemnification agreement entered into by any Defendant in relation to this or
           any other matter brought by Plaintiff.

        The Court GRANTS this motion.

    2. Plaintiff’s Motions in Limine

        A. Plaintiff’s motion to preclude testimony about the alleged lack of or minimal use or
           configuration of nontransparent ports by customers or others downstream of PLX.

        The Court DENIES this motion.

        B. Plaintiff’s motion to preclude criticisms of the USPTO or its employees or
           suggestions they did not comply with their duties.

        The Court GRANTS this motion. But this does not preclude Defendants from addressing

 the prosecution history of the patents.

        C. Plaintiff’s motion to preclude references to the amount(s) paid or bartered for the
           patents-in-suit or any related patents.

        The Court GRANTS this motion.

        D. Plaintiff’s motion to preclude references to inequitable conduct, including deceptive
           intent, fraud on the USPTO, statements about claim scope, misleading the USPTO,
           misrepresentations to the USPTO, or withholding information from the USPTO.

        The Court GRANTS this motion.

        E. Plaintiff’s motion to preclude expert testimony from a witness who did not provide an
           expert report, or from an expert beyond that which was disclosed in an expert report.

        The Court GRANTS this motion as agreed.




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          F. Plaintiff’s motion to preclude references to Plaintiff, its affiliates, or its managers
             Frank Knuettel or Steve Sereboff as a “patent troll,” “shell entity,” “non-practicing
             entity,” or in any other disparaging manner.

          The Court GRANTS this motion as agreed. Although Defendants are not to refer to

 Plaintiff in any disparaging manner, Defendants are permitted to discuss the nature of Plaintiff’s

 business.

          G. Plaintiff’s motion to preclude Dr. Martin Kaliski from arguing or testifying about
             “configuration” or “enablement” of non-transparent ports.

          The Court DENIES this motion.

          H. Plaintiff’s motion to preclude reference to alleged prior art unless and until it has been
             ruled as being admissible into evidence.

          The Court DENIES this motion.

          I. Plaintiff’s motion to preclude reference to allegations of prior expert opinions of
             Plaintiff’s damages expert Mr. Walter Bratic having been excluded in unrelated cases.

          The Court GRANTS this motion.

          J. Plaintiff’s motion to preclude reference to litigation settlements and other license
             agreements which are not being relied upon by an expert to show an established
             royalty.

          The Court GRANTS this motion.



    IV.      Evidentiary Objections and Objections to Deposition Designations

          The parties shall meet and confer to narrow the remaining evidentiary objections. The

 parties are ORDERED to file by Thursday, February 9, 2012, at 2:00 p.m. briefs informing the

 Court of any remaining evidentiary objections or objections to deposition designations. To the

 extent that it is possible, the parties are instructed to organize the objections into discrete

 categories. Any responses to the objections shall be filed no later than Friday, February 10,

 2012, at 12:00 p.m.


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    V.       Other Motions

          Pursuant to the Court’s above rulings, Plaintiff’s Unopposed Motion for Leave to File

 Supplemental Summary Judgment Response on the Issue of Infringement (Doc. No. 421) is

 DENIED as moot.



    VI.      Other Pretrial Matters

          Having reviewed the parties’ proposals, the Court ORDERS that each side shall have 30

 minutes for voir dire, 20 minutes for opening statements, and 30 minutes for final argument.

   . further review of the parties’ documents and time estimates, the Court revises the
 Upon

 time limitations to give each side 12 hours for direct and cross examination. Time will be

 deducted from a party’s 12-hour allotment for all issues addressed outside the jury’s presence.

 This case will proceed to jury selection on Tuesday, February 21, 2012, at 1:30 p.m., followed

 immediately by trial.

          It is SO ORDERED.

          SIGNED this 7th day of February, 2012.




                                                          ____________________________________
                                                          MICHAEL H. SCHNEIDER
                                                          UNITED STATES DISTRICT JUDGE




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